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9                                 UNITED STATES DISTRICT COURT

10                             NORTHERN DISTRICT OF CALIFORNIA

11                                        OAKLAND DIVISION

12   In re Google RTB Consumer Privacy          Master File No. 4:21-cv-02155-YGR-VKD
     Litigation,
13   __________________________________         NON-PARTY THE NEW YORK TIMES
                                                COMPANY’S STATEMENT IN SUPPORT
14   This document applies to: all actions.     OF SEALING CERTAIN CONFIDENTIAL
                                                MATERIAL FILED PROVISIONALLY
15                                              UNDER SEAL BY PLAINTIFFS
16                                               [L.R. 79-5(F)(3)]
17                                               Judge: Hon. Yvonne Gonzalez Rogers
                                                 Hearing Date: None set.
18                                               Hearing Time:
19                                               Hearing Location:

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1                                                  INTRODUCTION
2            Pursuant to Civil Local Rule 79-5(f)(3), Non-Party The New York Times Company (the
3    “Times”) respectfully requests that the Court maintain under seal certain of The Times’s
4    information, which has been designated “Highly Confidential – Attorneys’ Eyes Only,” as
5    identified in the chart below. The Times is a public company headquartered at 620 Eighth Avenue,
6    New York, New York, 10018 and a non-party to this litigation. The Times received a third-party
7    subpoena from Plaintiffs on June 30, 2021. In response, The Times made a production of
8    documents and data to Plaintiffs. Portions of the materials produced by The Times reflect highly
9    confidential information that is commercially and competitively sensitive, as well as sensitive
10   customer information. The public disclosure of this information would cause competitive harm to
11   The Times.
12           Plaintiffs have included portions of this information in their Reply in Further Support of
13   Motion for Class Certification (the “Reply”) (ECF No. 617) and the Expert Class Certification
14   Rebuttal Report of Christopher Wilson, Ph.D (“Wilson Rebuttal Report”) (ECF No. 617-4), which
15   was provisionally filed under seal as an exhibit to the Declaration of Elizabeth C. Pritzker in Further
16   Support of Plaintiffs’ Motion for Class Certification (the “Pritzker Reply Declaration”) (ECF No.
17   617-1). See Pls.’ Administrative Mot. To Consider Whether Another Party’s Materials Should Be
18   Sealed (ECF No. 620).1
19           The Times respectfully submits this statement to join Plaintiffs’ administrative motion to
20   seal in part and provide support for maintaining under seal a limited amount of data contained in
21   the Reply and a number of data fields and statistics contained within the Wilson Rebuttal Report.
22   1
       On August 4, 2023, The Times submitted a Statement in Support of Sealing Certain Confidential Materials Filed
     Provisionally Under Seal by Plaintiffs (ECF No. 556), seeking sealing of materials attached to Plaintiffs’ Expert
23   Class Certification Report of Professor Christopher Wilson (ECF No. 546-4). On October 5, 2023, The Times
     submitted a Statement in Support of Sealing Certain Confidential Materials Filed Provisionally Under Seal by
24   Google (ECF No. 604), seeking sealing of portions of Google’s Opposition (Sealed ECF No. 583-3 and 583-4) and
     the Expert Report of Aaron Striegel, Ph.D (ECF No. 584-1 and 584-2, re-filed as ECF No. 602-1 and 602-2).
25   Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Materials Should be Sealed (ECF No. 548)
     and Google’s Administrative Motion to Consider Whether Another Party’s Materials Should be Sealed (ECF
26   No. 586) remain pending before the Court.


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1    These discrete portions of the record reflect highly confidential information that is commercially
2    and competitively sensitive. The following table identifies the specific portions of the record that
3    The Times seeks to maintain under seal, and the Declaration of James Glogovsky attached as
4    Exhibit A (“Glogovsky Declaration”) provides additional explanation of the highly sensitive nature
5    of the confidential information at issue and the basis for The Times’s request.2
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     2
       As specified in ¶ 12 of the Court’s Standing Order in Civil Cases, The Times concedes that Plaintiffs’ request to seal
24   the following portion of the Reply need not be granted: the percentage in line 17 of page 5. The Times also concedes
     that Plaintiffs’ request to seal the following portions of the Wilson Rebuttal Report need not be granted: “referrer” and
25   “https://www.nytimes.com” in the final sentence of ¶ 51; percentage in ¶ 60; the redacted portion of n. 55 to ¶ 65;
     “operating system version” in the second sentence of ¶ 66; and all redacted portions of the second-to-last sentence of
26   ¶ 66 after the word “empty.” A proposed order consistent with the narrowed request(s) is attached as Exhibit B.


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1        Document       Portion(s) to                   Basis for Sealing Request
                          Maintain
2                        Under Seal
3     Plaintiffs’ Reply Numerical       Constitutes commercially and competitively sensitive
      (Sealed ECF No. figures           information, the divulgence of which would result in
4     616-3)            contained on    competitive harm to The Times. If made public, this figure
                        lines 8 and     could be used by The Times’s competitors to derive insights
5                       17 of page 4    about The Times’s business operations/strategies and by
                                        current and prospective customers, vendors, and business
6                                       partners of The Times to gain unfair advantages in
7                                       negotiations and dealings with The Times. See Glogovsky
                                        Decl. ¶ 7.
8                       Numerical       Constitutes commercially and competitively sensitive
                        figure          information, the divulgence of which would result in
9                       contains in     competitive harm to The Times. If made public, this figure
10                      line 15 of      could be used by The Times’s competitors to derive insights
                        page 5          about The Times’s business operations/strategies and by
11                                      current and prospective customers, vendors, and business
                                        partners of The Times to gain unfair advantages in
12                                      negotiations and dealings with The Times. See Glogovsky
                                        Decl. ¶ 7.
13                      Numerical       Constitutes commercially and competitively sensitive
14                      values in       information, the divulgence of which would result in
      Ex. 44 to         ¶ 48            competitive harm to The Times. If made public, this figure
15    Pritzker Reply                    could be used by The Times’s competitors to derive insights
      Decl.: Expert                     about The Times’s business operations/strategies and by
16    Class                             current and prospective customers, vendors, and business
      Certification                     partners of The Times to gain unfair advantages in
17                                      negotiations and dealings with The Times. See Glogovsky
      Rebuttal
18    Report of                         Decl. ¶ 7.
      Professor         Names of        Constitutes commercially and competitively sensitive
19    Christopher       data fields     information, the divulgence of which would result in
      Wilson, Ph.D.     and             competitive harm to The Times. If made public, this figure
20    (Sealed ECF       percentages     could be used by The Times’s competitors to derive insights
      616-6 /           contained in    about The Times’s business operations/strategies and by
21
      Public ECF 617-   ¶ 51            current and prospective customers, vendors, and business
22    4)                                partners of The Times to gain unfair advantages in
                                        negotiations and dealings with The Times. See Glogovsky
23                                      Decl. ¶ 7.
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1                    Names of          Constitutes commercially and competitively sensitive
                     data fields,      information, the divulgence of which would result in
2                    numerical         competitive harm to The Times. If made public, this figure
3                    values, and       could be used by The Times’s competitors to derive insights
                     percentages       about The Times’s business operations/strategies and by
4                    in ¶¶ 53, 56      current and prospective customers, vendors, and business
                     & n.50.           partners of The Times to gain unfair advantages in
5                                      negotiations and dealings with The Times. See Glogovsky
                                       Decl. ¶ 7.
6                    Numerical         Constitutes commercially and competitively sensitive
7                    values in         information, the divulgence of which would result in
                     ¶ 59.             competitive harm to The Times. If made public, this figure
8                                      could be used by The Times’s competitors to derive insights
                                       about The Times’s business operations/strategies and by
9                                      current and prospective customers, vendors, and business
                                       partners of The Times to gain unfair advantages in
10
                                       negotiations and dealings with The Times. See Glogovsky
11                                     Decl. ¶ 7.
                     Names of          Constitutes commercially and competitively sensitive
12                   data fields in    information, the divulgence of which would result in
                     ¶ 64              competitive harm to The Times. If made public, this figure
13                                     could be used by The Times’s competitors to derive insights
14                                     about The Times’s business operations/strategies and by
                                       current and prospective customers, vendors, and business
15                                     partners of The Times to gain unfair advantages in
                                       negotiations and dealings with The Times. See Glogovsky
16                                     Decl. ¶ 7.
                     Names of          Constitutes commercially and competitively sensitive
17                   data fields,      information, the divulgence of which would result in
18                   text, and         competitive harm to The Times. If made public, this figure
                     percentages       could be used by The Times’s competitors to derive insights
19                   in ¶ 66 prior     about The Times’s business operations/strategies and by
                     to last line of   current and prospective customers, vendors, and business
20                   page 20           partners of The Times to gain unfair advantages in
                                       negotiations and dealings with The Times. See Glogovsky
21                                     Decl. ¶ 7.
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1                                                  LEGAL STANDARD
2             While there is a presumption in favor of public access to judicial records, the Ninth Circuit

3    recognizes that it may be overcome by “compelling reasons” that justify sealing.3 Kamakana v.

4    City & Cnty. of Honolulu, 447 F.3d 1172, 1178–79 (9th Cir. 2006). A court may grant a party’s

5    motion to seal records if the moving party presents “compelling reasons” for maintaining

6    confidentiality that “outweigh the public’s interest in disclosure.” Id. Courts have “broad latitude”

7    to prevent disclosure of “many types of information, including, but not limited to, trade secrets or

8    other confidential research, development, or commercial information.” Phillips ex rel. Ests. of Byrd

9    v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002) (emphasis in original).

10            This Court has found compelling reasons to seal commercially or competitively sensitive

11   information and sensitive customer information. See Snapkeys, Ltd. v. Google LLC, No. 19-CV-

12   02658-LHK, 2021 WL 1951250, at *3 (N.D. Cal. May 14, 2021) (explaining that “this Court has

13   found compelling reasons to seal confidential information . . . where the disclosure of that

14   information would harm [a] party's competitive standing” and “compelling reasons to seal

15   personally identifiable information”); Synchronoss Techs., Inc. v. Dropbox Inc., No. 16-CV-00119-

16   HSG, 2017 WL 11527607, at *2 (N.D. Cal. Dec. 27, 2017) (sealing documents containing

17   “sensitive proprietary business information” that is “not publicly available or publicly disclosed

18   and has been maintained . . . in a confidential manner.”); Vietnam Veterans of Am. v. C.I.A., No.

19   C 09-0037, 2012 WL 1094360, at *1 (N.D. Cal. Mar. 29, 2012) (sealing exhibits containing

20   “sensitive personal information about certain individuals”).

21
22   3
       When deciding a request to seal, courts in the Ninth Circuit must decide whether to apply either “the presumptive
     ‘compelling reasons’ standard or the ‘good cause’ exception.” Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092,
23   1097 (9th Cir. 2016). A party seeking to seal materials submitted with a motion that is “more than tangentially related
     to the merits of the case” must overcome the presumption in favor of public access with “compelling reasons,” while
24   a party seeking to seal materials submitted with a motion that is “only tangentially related to the merits” need only to
     overcome that presumption with “good cause.” WhatsApp Inc. v. NSO Grp. Techs. Ltd., 491 F. Supp. 3d 584, 596
25   (N.D. Cal. 2020) (citations omitted). The instant motion and its supporting materials articulates the “compelling
     reasons” that justify sealing the information at issue, which is the appropriate standard for a request to seal materials
26   submitted in connection with a class certification motion.


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1                                              ARGUMENT
2           A.      Compelling Reasons Exist To Seal The Times’s Confidential Information,
                    Which Is Commercially and Competitively Sensitive.
3
4           Here, as set forth in the table above and in the Glogovsky Declaration, the narrow categories

5    of information that The Times seeks to seal warrant protection because they comprise highly

6    commercially and competitively sensitive information.

7           The redacted names of data fields, numerical values, and percentages in Plaintiffs’ Reply

8    and paragraphs 48, 51, 53, 56 & n.50, 59, 64, and 66 of the Wilson Rebuttal Report reveal

9    information about The Times’s sale, volume, and cadence of impressions, as well as the types of

10   data that The Times collects, and the frequency with which that data is collected, all of which

11   directly relates to The Times’s business operations and, among other things, customer base,

12   volume, and The Times’s ability to use certain data in connection with advertising and other

13   functions. See Glogovsky Decl. ¶ 7. The Times does not make this information public and takes

14   considerable measures to maintain its confidentiality. If it became public, it could be used by The

15   Times’s competitors to derive competitive insights about The Times’s business operations and

16   strategies. Further, it could be used by current and prospective customers, vendors, and business

17   partners to gain unfair advantages in negotiations and dealings with The Times. This type of

18   proprietary and confidential information is precisely the kind that courts routinely find would harm

19   a party’s competitive standing and should be sealed. See, e.g., Cont’l Auto. Sys., Inc. v. Avanci,

20   LLC, No. 19-CV-02520, 2019 WL 6612012, at *4 (N.D. Cal. Dec. 5, 2019) (granting a motion to

21   seal, among other things, confidential information about “the number of customers using Plaintiff’s

22   products” and noting that courts in the Ninth Circuit “have found sales data . . . to be sealable, to

23   the extent that information is kept confidential”); Stone v. Advance Am., Cash Advance Centers,

24   Inc., No. 08CV1549 WQH WMC, 2011 WL 662972, at *1 (S.D. Cal. Feb. 11, 2011) (granting

25   motion to seal “volume and market share”); In re Apple Inc. Device Performance Litig., No. 5:18-

26   MD-02827-EJD, 2019 WL 1767158, at *2 (N.D. Cal. Apr. 22, 2019) (“Courts applying the


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1    compelling reasons standard have upheld the sealing of trade secrets . . . customer information . . .
2    and other such materials that could harm a party’s competitive standing.”). These names of data
3    fields, numerical values, and percentages should be sealed accordingly.
4            B.      The Instant Motion is Narrowly Tailored to Seal Only Sealable Information in
                     Accordance with Civil Local Rule 79-5.
5
6            The Times seeks to seal only those specific portions of information that contain highly

7    sensitive business information or highly sensitive customer information. Indeed, The Times

8    submits this statement to join Plaintiffs’ administrative motion to seal in part, narrowing somewhat

9    the proposed redactions to include only the minimum information necessary to protect The Times

10   from harm. In total, The Times’s proposed redactions include the redaction of the names of 15 data

11   fields and associated numerical values and percentages on just six pages of the Wilson Rebuttal

12   Report and three numbers from the Reply. Accordingly, The Times’s request is minimal in scope

13   and “narrowly tailored to seek sealing only of sealable material” as required under Civil Local Rule

14   79-5. See Lathrop v. Uber Techs., Inc., at *1 (N.D. Cal. May 3, 2016) (finding sealing of certain

15   information justified where the party seeking sealing of the information submitted a motion

16   “narrowly tailored to seal only sealable information, as Local Rule 79-5 requires.”); Epic Games,

17   Inc. v. Apple Inc., No. 4:20-CV-05640-YGR, 2021 WL 1925460, at *1 (N.D. Cal. Apr. 30, 2021)

18   (granting sealing of materials where request was “narrowly tailored toward sealing highly

19   confidential information . . . belonging to . . . a third-party non-party to [the] action.”).

20           C.      The Times’s Need To Protect Its Confidential Information Outweighs The
                     Public Interest In Disclosure.
21
             As explained above, The Times’s sealing request is limited to extremely narrow portions of
22
     the Reply and Wilson Rebuttal Report that contain commercially and competitively sensitive
23
     information that cannot be protected from public disclosure through less restrictive means. The
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     disclosure of this information will not advance the public’s understanding or knowledge regarding
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     any of the contested issues in this litigation and has the potential to cause significant harm to The
26

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1    Times. Thus, the information should be sealed. See Network Appliance, Inc. v. Sun Microsystems
2    Inc., No. C-07-06053 EDL, 2010 WL 841274, at *3 (N.D. Cal. Mar. 10, 2010) (granting the motion
3    to seal where documents contained information “that would do little to aid the public’s
4    understanding of the judicial process, but have the potential to cause significant harm to [a party’s]
5    competitive and financial position within its industry”); Hunt v. Cont'l Cas. Co., 2015 WL 5355398,
6    at *2 (N.D. Cal. Sept. 14, 2015) (sealing information about third parties where such information
7    “implicates important privacy concerns of nonparties—whose names are not relevant to the
8    disposition of this case—that outweigh the public's interest in disclosure of these judicial records”).
9                                              CONCLUSION
10          For the foregoing reasons, as well as those set forth in the Glogovsky Declaration, The
11   Times respectfully requests that the Court enter the Proposed Order attached as Exhibit B and
12   maintain under seal the narrow portions of the Reply and Wilson Rebuttal Report identified in the
13   table above.
14
      DATED: December 6, 2023                            Respectfully submitted,
15
16
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